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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                      Harrisonburg Division


Sky Cable, LLC, et al.                       )
                                             )
                 Plaintiffs,                 )
                                             )
                                   v.        ) Civil Action No.: 5:11-cv-00048-MFU
                                             )
Randy Coley, et al.                          )
                                             )
                 Defendants.                 )


         DEFENDANT DIRECTV, LLC'S MOTION TO COMPEL DISCOVERY
       FROM DEFENDANTS RANDY COLEY AND EAST COAST CABLEVISION


        Under Rule 37(a) of the Federal Rules of Civil Procedure, DIRECTV, LLC

(“DIRECTV”) moves the Court for an Order compelling judgment debtors Randy Coley and his

affiliated entity, East Coast Cablevision, LLC (collectively, “Coley Defendants”) to produce

responses to DIRECTV’S discovery requests sent in aid of execution on the judgment. The

Coley Defendants were served by mail with interrogatories and requests for production of

documents on December 9, 2014. Thus, their responses were due no later than January 12, 2015.

Yet the Coley Defendants have not responded to either the interrogatories or document requests,

and the responses are now many days overdue. Undersigned counsel contacted defendant Randy

Coley on January 16, 2015 to alert him to this deficiency and to propose a “meet and confer”

meeting about his responses to the discovery requests in an effort to resolve this issue before

filing this motion. 1 Mr. Coley did not respond to that communication. 2


1
 On January 9, 2015, the Court issued an order permitting the Coley Defendants’ previous counsel to withdraw and
directed Mr. Coley to identify his new counsel by January 16, 2015. (Dkt # 241). Mr. Coley has sent a letter to the



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           Under Federal Rule of Civil Procedure 69(a)(2), a judgment creditor such as DIRECTV,

may, “in aid of the judgment or execution, . . . obtain discovery from any person—including the

judgment debtor—as provided in these rules or by the procedure of the state where the court is

located.” Rule 37 provides that, if a party resists or objects to discovery, the other party, “upon

reasonable notice to other parties and all persons affected thereby, may apply for an order

compelling disclosure or discovery . . . .” Fed. R. Civ. P. 37(a).

           Here, the Coley Defendants have simply failed to respond at all to DIRECTV’s discovery

requests. DIRECTV respectfully moves for an order compelling the Coley Defendants to

provide full and complete responses to its interrogatories and requests for production, attached

hereto as Exhibits A and B, respectively. DIRECTV also requests its attorney’s fees and costs

associated with this motion. Under Rule 37(a)(4), DIRECTV is entitled to its “reasonable

expenses incurred in making the motion, including attorney’s fees,” unless the court finds that

the motion was filed without a good faith effort to obtain the discovery without court action, or

that the non-disclosure was substantially justified, or that other circumstances make an award of

expenses “unjust.” Here, DIRECTV made a good-faith effort to confer with Mr. Coley (to no

avail), there is no justification for his non-response, no other circumstances would make an

award of costs and fees unjust.




Court providing his contact information and stating he has yet to find new counsel. (See Case No. 5:11cv00123, Dkt
# 112)
2
    The email to Mr. Coley was sent to the address both he and his counsel provided to the Court and counsel.




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      Dated: January 28, 2015.

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                                   Attorneys for Defendant and Cross-Claimant
                                   DIRECTV, LLC




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this date, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to:

Mark Bowman Callahan, callahan@clark-bradshaw.com
Warren David Harless, wharless@cblaw.com
Sherwin John Jacobs, sjjacobs-attorney-510market@msn.com
Paul Wilbur Jacobs, II, pjacobs@cblaw.com
          I further certify that I placed in the U.S. Mail, postage prepaid, a copy of the foregoing

document addressed to:

Randy Coley
3008 Airpark Road
Fuquay Varina, NC 27526


          I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

          Dated this 28th day of January, 2015 at Seattle, Washington.


                                                /s/ John H. Jamnback
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                          EXHIBIT A
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                          EXHIBIT B
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